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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-02533-EWN-MJW

  THOMAS MONTOYA,

  Plaintiff,

  v.

  BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO, et al.,

  Defendants.

                                     MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

         It is hereby ORDERED that the Motion for Protective Order from Defendant
  Wegener and Request for Expedited Ruling (docket no. 51) is GRANTED for the
  reasons stated below. The deposition of Defendant Sheriff Wegener shall take place in
  Fairplay, Colorado. Defendant Sheriff Wegener shall provide a room for his deposition
  in Fairplay, Colorado, at no expense to Plaintiff.

          Defendant Wegener is the Sheriff for Park County, Colorado. Defendant Sheriff
  Wegener resides and works in Fairplay, Colorado. This court will take judicial notice,
  pursuant to F.R.E. 201, that if Sheriff Wegener were required to have his deposition
  taken in Denver, Colorado, he would have to travel over 150 miles round trip by car.
  This court finds that 150 miles is a substantial distance. As the chief law enforcement
  officer for Park County, Sheriff Wegener’  s absence from Park County for an entire day
  could compromise the safety of the citizens of Park County. A district court has broad
  discretion to establish the time and place of depositions. Hyde & Drath v. Baker, 24
  F.3d 1162, 1166 (9th Cir. 1994). In the absence of exceptional or unusal
  circumstances, when a deponent resides at a substantial distance from the deposing
  party’s residence, the deposing party should be required to take the deposition at a
  location in the vicinity in which the deponent resides, even if the deponent is a party.
  Metrex Research Corp. v. United States, 151 F.R.D. 122 (D. Colo. 1993).

  Date: July 18, 2006
